             Case 1:10-cv-03108-JEC Document 7 Filed 10/06/10 Page 1 of 6




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

TASER INTERNATIONAL, INC., et al.,  )
                                    )                   Case No.: 1:10-CV-03108-JOF
     Plaintiffs,                    )
                                    )
v.                                  )                   [On removal from the State
                                    )                   Court of Fulton County,
MORGAN STANLEY & CO., INC., et al., )                   Georgia Case No.:
                                    )                   2008-EV-004739-B]
     Defendants.                    )
____________________________________)

            PLAINTIFFS’ MOTION FOR REMAND, FEES AND COSTS

           Plaintiffs hereby move the Court, pursuant to 28 U.S.C. § 1447(c), to

remand this action to the State Court of Fulton County because this federal court

lacks subject matter jurisdiction over the action. In support of this Motion,

Plaintiffs rely on the Brief in Support of Plaintiffs’ Motion for Remand, Fees and

Costs, filed simultaneously herewith. Plaintiffs request that, pursuant to 28 U.S.C.

§ 1447(c), the Court award Plaintiffs the attorneys’ fees and costs they incur in

connection with this improper removal.

           Respectfully submitted, this 6th day of October, 2010.

                                                  /s/ Steven J. Rosenwasser
                                                  John E. Floyd
                                                  Georgia Bar No. 266413
                                                  Steven J. Rosenwasser
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           Case 1:10-cv-03108-JEC Document 7 Filed 10/06/10 Page 2 of 6




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             Case 1:10-cv-03108-JEC Document 7 Filed 10/06/10 Page 3 of 6




                          CERTIFICATE OF COMPLIANCE

           Pursuant to Local Rule 7.1D of the Local Rules for the District Court for the

Northern District of Georgia, I hereby certify that the foregoing pleading and the

Brief in Support of Plaintiffs’ Motion for Remand, Fees and Costs have been

prepared in Times New Roman, 14 point font, as permitted by Local Rule 5.1B.

           Respectfully submitted this 6th day of October, 2010.

                                                  /s/ Steven J. Rosenwasser
                                                  Steven J. Rosenwasser
                                                  Georgia Bar No. 614908




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             Case 1:10-cv-03108-JEC Document 7 Filed 10/06/10 Page 4 of 6




                              CERTIFICATE OF SERVICE

           I hereby certify that on this day, a true and correct copy of the foregoing

PLAINTIFFS’ MOTION FOR REMAND, FEES AND COSTS was

electronically filed with the Clerk of Court using the Court’s electronic filing

system which will automatically send an email notification of such filing to the

following attorneys of record who are registered participants in the Court’s

electronic notice and filing system:

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           Further, I hereby certify that on this day, I caused a true and correct copy of

the foregoing PLAINTIFFS’ MOTION FOR REMAND, FEES AND COSTS

to be served by Email and U.S. Mail on:

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           Case 1:10-cv-03108-JEC Document 7 Filed 10/06/10 Page 5 of 6




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              This the 6th day of October, 2010.

                                              /s/ Steven J. Rosenwasser
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                                              Georgia Bar No. 614908




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